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also a'r_m_q_%_"_g,@_
UNITED STATES DISTRICT COURT

WESTERN DIsTRICT oF TENNESSEE 05 JUL 22 PH li= 28
Eastern Division

   

 

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uNITEn s'rATEs or AMERICA WfD 05 iii JAC' SON
-v- Case No. 1:05cr]0056-003T
CHRISTY WILLiAMs
ORDER SETT|NG

COND|T|ONS OF RELEASE

lT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Offlce, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and Shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom 407, Tuesday, 07/26/05 3:00 p.m.

ADDIT|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
coininunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions
o report as directed by the Pretrial Services Office.

0 refrain from possessing a firearm, destructive device, or other dangerous Weapon.

ADV|CE OF PENALTIES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOWING PENALT|ES AND SANCT|ONS:

A violation oi`any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment, a fine, or both.

AO 199A Order Se\ting Condi\ions of Re|ease ' l ' @

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The commission of a Federal offense while on pretrial release may result in an additional sentence to a tenn
ofimprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be iri addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
infonnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions ofrelease, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed if you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishabie by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than 3250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $]00,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offeiise. ln addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and thatl am aware of the conditions-ofrelease. Ipromise
to obey all conditions of release, to appear as directed, and tzr?der for service of any sentence imposed lam aware

of the penalties and sanctions set forth above. a _F
l W,z/M '

Signpture of Defendant

Christy Williarns
134 Forest St.
Trenton, TN 38382
731-855-2330

DlRECT|ONS TO THE UN|TED STATES MARSHAL _'

l:l The defendant is ORDERED released after processing

[:l The United States marshal is ORDERED to keep the defendant in custody until notified by the C]erk or
.lndicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified if still in
custody.

,-__'* ' ii ". _
Date: .|uly 22, 2005 § . (h(,'l/Ylfl=i @_-

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

no issa order seizing conditions of Reiease -2-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CR-10056 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed

 

 

M. Dianne Sniothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

